           Case 2:07-cr-00126-WBS Document 39 Filed 06/28/07 Page 1 of 2


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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                      ) Case No.: CR.S. 07-126 EJG
     United States of America,          )
 9                                      ) WAIVER OF DEFENDANT’S PRESENCE
                Plaintiff,              ) [Fed.R.Crim. Pro. 43]
10                                      )
          vs.                           ) Court: Hon. Judge Edward J.
11                                      ) Garcia
                                        )
12   Alice Petersen, et.al.             )
                                        )
13              Defendants
14

15

16        Mr. Javon Gill hereby waives the right to be present in person in
17   open Court upon the hearing of any motion or other proceeding in this
18   case, including, but not limited to, when the case is ordered set for
19   trial, when a continuance is ordered, and when any other action is
20   taken by the court before or after trial, except upon arraignment,
21   initial appearance, plea, trial confirmation hearing, impanelment of
22   jury, every trial stage including verdict, and imposition of sentence.
23   The defendant hereby requests the Court to proceed during every
24   absence of his which the Court may permit pursuant to this waiver,
25   agrees that his interests will be deemed represented at all times by
26   the presence of his attorney the same as if he were personally
27   present, and further agrees to be present in Court and ready for trial
28   any day and hour the Court may fix in his absence.




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              Case 2:07-cr-00126-WBS Document 39 Filed 06/28/07 Page 2 of 2



 1                The defendant further acknowledges that he has been

 2   informed of his rights under 18 U.S.C. § 3161 – 3174 (the Speedy Trial

 3   Act), and authorizes his attorney to set times and delays under that

 4   act without his being present.      The reason for this request is that

 5   Mr. Gill is employed full time as a condition of his pre-trial

 6   release.    Mr. Gill works from 8:30 a.m. until 5:30 p.m. & missing work

 7   would jeopardize his employment.     With the Court’s permission, Mr.

 8   Gill respectfully requests that this Court accept his waiver of

 9   appearance when the statute deems his presence inessential and this

10   Court consents.

11
     Dated: June 26, 2007                Respectfully submitted,
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13

14
                                         __/s/ Shari Rusk___
                                         Shari Rusk
15                                       Attorney for Defendant
                                         Javon Gill
16

17
                                         ORDER
18

19
          IT IS SO ORDERED.
20
     DATED:       June 26,2007
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22                                               /s/ Edward       J. Garcia
                                                 EDWARD J. GARCIA
23                                               UNITED STATES DISTRICT JUDGE
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